EXHIBIT E

Cos MerrillLynch

October 24, 2008
Dear

As you know, our recently announced merger with Bank of America represents a great opportunity for both companies, as well as for all our
employees and clients. in recognition of this epportunity going forward and your contribution to Merrill Lynch, upon the closing of the merger
you will participate in the Advisor Transition Program described below.

Your participation has been designed with reference to your 2008 September 12th year-to-date preduction which has been annualized as
shown below, ,

2008 PCs (annualized) =

Advisor Transition Program Awards
Loan repayable with interest over 7 years:
PC Growth Award: Maximum

Program Gomponents

Loan - As soon as practicable after the Closing Date, you will be entitled to a loan evidenced by a promissory note equa! to the amount fisted

above. The term of the loan will be 7 years and the installments including interest will be due monthly, The actual interest rate will be set in
the month the loan is made.

Monthly Service Bonus - Every month you will receive 2 Monthly Service Bonus. For your convenience the payments will coincide with the
datas in the Promissory Note. Please note that the payments, like any other compensation award, will be subject to tax withholding. Details
of your Monthly Service Bonus will be set forth in the Advisor Transition Program Agreement For Iustration purposes, your Monthly Service

Bonus payable each month during seven years will be no jess than _ The actual ammount will be set upon closing.

PC Growth Award - The PC Growth Award will be calculated based on the cumulative annual incremental production grawth in each year
2068, 2010, and 2011. Growth each year will be compared to the prior full year baseline production credits. Baseline production credits may
be adjusted on an annual basis to reflect reailecations of production credits in accordance with normal policies. The PC Growth Award wilt

equal the cumulative incremental production credits - up to a maximum amount listed above.

Provided you remain continuously amployed by the Company or any of its affillates, the PC Growth Award wiki be granted on January 1.
2012 and be payable in the form of a Long Term Cash Award. This will vest and be payable in 4 equal annual increments beginning with the
first vesting date of January 1, 2013, provided you remain employed by the Company or its affiliates on each vesting date. The amount will
be calculated to include interest at an annual rate equal to the one year Treasury Bill rate set at the time of your award.

The detailed Advisor Transition Program Agreement will contain specific terms of your award, including vesting and forfaiture provisions, and
will in all events be the governing decument for your award.

Finatization of Advisor Transition Program

This Advisor Transition Program will be finalized and shalt become effective only if the merger closes and you are employed in good
standing as of the Clesing Date. Cn the current screen (above) you can print the Agreement and related documents.

You will need to electronically sign the Agreement by November 14, 2008 in order fo receive your award.

Prior #0 receiving a loan pursuant to the Advisor ‘Transition Program, you will also have to electronically sign a promissory note In tha form
included in the email link to the website. Prior to the Closing Date, we will provide you with the final form of promissory note, which you will
need to electronically sign by a specific date in order to receive your loan.

On a4 persona note, we are very proud of our association with Bank of America and hope, when this tangaction is complete, yeu will be
excited to take on the opportunities and responsibilities that come with such an association as well.

¢ é Cypenoy
Bob McCann Dan Sontag
Vice Chairman & President i Senior Vice President
Global Wealth Management : GWM Americas

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PA Name:
PC Quintife:

2008 Sept 12th
Annualized PCs:

Advisor Transition Program Award
Promissory
Note:
PCG Growth
Award:
Total Award:

Monthly Service
Award Payment:

 

Agreement Status: APPROVED
has APPROVED this agreement on:
Date: Time: :
Amendment Status: APPROVED
has APPROVED this Amendment

 

on:
Date: Time:
Promissory Note Status: APPROVED

has APPROVED this Promissory
Note on:

Date: Time:
Deposit into ML Account Number:

 

 

 

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ADVISOR TRANSITION PROGRAM AWARD

   

FA Name:
PC Quintiie:
2008 Ann PCs:

 

- Promissory Note PG Growth Award (Maximum) Total Award
Calculated Award :

Agreement Status: APPROVED

has APPROVED this agreement on: :
Date: ,

Time:

YOU REPRESENT AND WARRANT THAT .
(} YOU ARE USING THE SITE SOLELY ON BEHALF OF YOURSELF;
-() YOU SHALL TREAT ALL ASPECTS OF THE SITE AND YOUR AGREEMENT AS CONFIDENTIAL.

BY USING THIS AGREEMENT APPROVAL WEBSITE AND BY CONFIRMING AND SUBMITTING YOUR EMPLOYEE ID,

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ADVISOR TRANSITION PROGRAM AGREEMENT

This is an Agreement, dated as of October 23, 2008, between MERRILL LYNGH, PIERGE, FENNER & SMITH
INCORPORATED (‘Merril Lynch”) and

WHEREAS, Merrill Lynch & Co., Inc., a Delaware corporation, and Bank of America Corporation, a Delaware
corporation (“Bank of America’), have entered into an Agreement and Plan of Merger, dated as of September 15, 2008 (the
“Merger Agreement’);

WHEREAS, is employed as a Financial Advisor at Merrill Lynch; and ©

WHEREAS, Merrill Lynch recognizes that it is beneficial fo secure the continued service of Financial Advisors
following the constummation of the transactions contemplated by the Merger Agreement.

NOW, THEREFORE, the parties agree as follows:

1. Advisor Transition Program. tn consideration of the services to be rendered by and upon the parties’
recegnition and acknowledgment of the value of cantinued employment of , Merrill Lynch shall make
compensation payments to as follows:

(a) Service Award Payment.

(i shall bs entitled to monthly compensation payments in an amount not less than
during each month from the first calendar month folowing fhe Closing (as defined in the Merger Agreement) through the
month containing ihe seventh anniversary of the Closing (“Service Payments”), with the exact amount of the Service
Payments to be provided to you within 30 days following the Closing Date (as defined in the Merger Agreement). Service
Payments are not eligible for computation of benefits (usually known as “non-eligible compensation’). shall cease
to be entitled to and shall not receive any additional Service Payments upon the termination of his/her employment for any
reason except as provided in 7(a)(ii} below.

(i} In the event that employment is terminated by Merrill Lynch by reason of death or

Disability (as !ong term disability is defined in the disability plan applicable to - at the time of disability), Merrill
Lynch shall provide or his/her estate with a cash jump sum in an amount equal to the Service Payments that
would have been made after the date of termination of his/her employment through the seventh anniversary of the Closing,
which ammount shail first be paid by Merrill Lynch te satisfy any outstanding amount owes Bank of America and its
affiliates, including Merrill Lynch (the “Bank of America Group’), pursuant te the loan made to in connection with
the consummation of the transactions contemplated by the Merger Agreement, and the remainder of which shall be paid to

or his/her estate. Such fummp sum shall be paid as soon as practicable after the date of death or
Disability, bui in ne event later than March 15 of the year after the calendar year in which the termination due to death or
Disability occurs.

has APPROVED this agreement on:
Date:
Time:

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ADVISOR TRANSITION PROGRAM AGREEMENT

(>) PC, Growth Award. shall also be eligibie to receive a PC growth award on January 1, 2012 (the
“PC Growth Award}, provided remains employed by Merrill Lynch-on that date. The PC Growth Award shail be
calculated based on the cumulative incremental production growth for the years 2009, 2010, and 2011 (production credits as
calculated in accordance with Merrill Lynch's current policies and procedures, as they may be amended from time to time).
The grewth in production over the three year period shail be the sum of the difference (positive or negative) between (x) the
production credits for each of the years 2009, 2010 and 2011 and (y) the baseline production credits for the applicable prior
year, as may be adjusted during the year fo reflect reallocation of production credits in accordance with Merrill Lynch’s
pelicies and procedures in effect from time to time. The PC Growth Award shall equal the cumulative incremental production
credits ~ up to a maximum of (the “PC Growth Award Payment”). The PC Growth Award Payment shall be pald tn
cash on a deferred basis, subject to vesting, in four equal annual increments, commencing on January 1, 2013. These four
equal payments will include an interest factor set at the time of the award, which will be the one-year T-Bill rate on the date
of the award. (For the avoidance of doubt, an example of how this calculation will work is attached as Exhibit A to this

Agreement) Any portion of the PC Growth Award Payment that vests shall be paid to within forty-five days of the
applicable vesting date. In the event that employment terminates for any reason cther than death or Disability,
amounts that are nof yet vested will be forfeited in their entirety. In the event employment is terminated as a

result of death or Disability, any portion of the Growth Award Payment not already vested, shall vest in full and be pald within
forty-five days of death or Disability.

2. in consideration of the rights and benefits provided fa under this Agreement, hereby waives

his/her right to receive any payments or benefits on account of termination of his/her employment at any future date for
“Good Reason” under any plan cr agreement covering as of the cate herecf, including without limitation any

payments or benefits that would otherwise become due in connection with a termination for “Good Reason” under Section 9
of the Financial Advisor Capital Accumulation Award Plan (“FACAAP"}, Section 8 of the WealthBuilder Account Plan
("WealthBuilder Plan”) and Section 7 of the Merrill Lynch Growth Award Plan ("Growth Plan”) and the “Change in Control’ -
provisions under any other Merril Lynch equity compensation plan. releases and discharges the Bank of
America Group from any claims, whether known or unknown, may have under the “Good Reason” clause under
any such plan or agreement, including without limitation the FACAAP, WealthBuilder Plan, Growth Plan and any other Merrill
Lynch equity compensation plan in which participates.

3. agrees that all customer information, whether in criginal ar copied form, is confidential and proprietary to
the Bank of America Group. agrees not to disclose this information to any third party, including competitors of the
Bank of America Group, at any time curing employment with Merrill Lynch, except for the purposes of
conducting business on behalf of Merrill Lynch, or at any time after termination. Upon termination of his/her employment,

will immediately return all customer information to the Bank of America Group and will relinquish access to,
possession of, and control over any such information in any form.

4, At ail times during employment and for a period of ene year following the termination of
employment with Merrill Lynch for any reason, agrees not to recruit or solicit, either directly or indirectly, any
Bank of America Group employee or employees to resign from the Bank of America Group or to join or his/her
new firm. .

5. In the event that breaches, or the Bank of America Group reasonably anticipates that is
about to breach, any of the covenants of paragraphs 3 or 4, agrees and recagnizes that the Bank of America
Group will suffer immediate and irreparable harm and that money damages will not be adequate to compensate the Bank of
America Group or to protect and preserve the status quo. Therefore, =~ = Ss AGREES THAT THE BANK GF AMERICA
GROUP MAY OBTAIN A TEMPCRARY RESTRAINING ORDER, WITH OR WITHOUT NOTICE, and A PRELIMINARY and
PERMANENT INJUNCTION, ordering: /
has APPROVED this agreement on:
Date:

Time:

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ADVISOR TRANSITION PROGRAM AGREEMENT

(a) that. immediately return to the Bank of America Group all customer information and records,
whether original, copied, duplicated, reproduced, computerized, handwritten, recreated, compiled, or stored in any way
whaiseever, and that be enjoined and restrained from using or disclosing all such information and records; and

(b} that, for a period of one year following termination of his/her employment, be enjoined and
restrained from recruiting or soliciting, either directly or indirectly, any Bank of America Group employee or empl oyees to
resign from the Bank of America Group or fo join or new employer.

8. promises to pay and indemnify the Bank cf America Group for all expenses, including attorneys’ fees
and costs, incurred by the Bank of America Group if if is successful in enforcing any of its rights under this Agreement.

7. All payments hereunder will be subject to required withholding for federal, state and local taxes.

8. Merrill Lynch’s rghts under this Agreement shall be freely assignable by Merrill Lynch and shall inure to the benefit
of Merrill Lynch’s successors and assigns, affiliated entities, and any current or future party-in-interest.

9. The terms of this Agreement shall be in full force and effect at all times during empleyment and shall
survive the termination of his/her employment. in addition, nothing herein is a promise of employment for a fixed term or
otherwise modifies the at-will status of employment. shall be employed by Merrill Lynch on an at-will
basis and nothing herein shail be construed as a contract of employment for a definite period of time or term.

10, In the event changes employment within the securities industry or otherwise becomes employed in
competition with the Bank of America Group,

(a} agrees to advise his/her new employer regarding the existence of this Agreement and the terms contained
herein;

(b} agrees to provide a copy of this Agreement to his/her new employer prior to acceptance of
employment with said employer; and

(c} authorizes Merrill Lynch to provide a copy of this Agreement to - new employer,

41, This Agreement constitutes the sole agreement between the parties as to the subject matter hereof and
represents that in executing this Agreement, has not relied upon any statement, promise or
representation not set forth herein.

12. and the Bank of America Group agree that this Agreement shall be governed by the laws of the Btate
of New York, without regard fo principles of choice of law thareof. The undersigned agree that any actions arising out of or
relating to the Agreement shall be brought solely in the Supreme Court of the State of New York in New York County to the
extent that such disputes are not arbitrable under the rules of Financial Industry Regulatory Authority (FINRA’) and ali
actions concerning such arbitration, including any action to confirm or vacate any arbitration award, shail be brought
exctusively in the Supreme Court of the State of New York, New York County. The undersigned

has APPROVED this agreement on:
Date:

Time:

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ADVISOR TRANSITION PROGRAM AGREEMENT

(a) submit to personal jurisdiction in the Supreme Court of the State of New York in any action or proceeding
arising out of or relating to this Agreement or relating to any arbitration concerning this Agreement,

(b) waive any claim of inconvenient forum or other challenge to venue in such court,

(c) agree not to bring any action or proceeding arising aut of our relating to this Agreement or any arbitration
concerning this Agreement in any other court, and

(d) waive any right to a trial by jury with respect to any action or proceeding arising out of or reiating to this
Agreement.

13. No previous waiver and no failure or delay by Bank of America Group in acting with respect to the terms of this
Agreement shall constitute a waiver of any breach, default or failure of condition under this Agreement or the obligations
secured thereby. A waiver or modification of any term of this Agreement or of any of the obligations secured thereby must be
made in writing and signed by a duly authorized officer of Merrill Lynch and shall be limited to the express terms of such
waiver or modification. may not rely on any oral waivers or modifications and no such oral waiver or modification
shall be binding on Bank of America Group or otherwise effective.

14. All payments and awards under the Advisor Transition Program are contingent upon consummation of the
transactions contemplated by the Merger Agreement. This Agreement shail'be nut and void in the event that the
transactions contemplated by the Merger Agreement are not consummated by March 31, 2009.

15. must accept this Agreement by November 14, 2008, in order to receive awards pursuant to this
Agreement. This Agreement shail be null and void in the event that does not accept this Agreement by
November 14, 2008. .

16. HAS READ AND REVIEWED THIS ADVISOR TRANSITION PROGRAM AGREEMENT AND
RESTRICTIVE COVENANTS IN ITS ENTIRETY. FULLY UNDERSTANDS THE TERMS OF THIS DOCUMENT
AND KNOWINGLY AND FREELY AGREES TO ABIDE BY THEM. In selecting the acceptance icon by following the
instructions provided with this Agreement, acknowledges that this Agreement has been duly executed and
delivered by the parties set forth below on the date first above written.

has APPROVED this agreement on:
Date:
Time:

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ADVISOR TRANSITION PROGRAM AGREEMENT
EXHIBIT A

PC Growth Award Example

The PC Growth Award will be calculated based on the cumulative annual incremental production growth in each year 2009,
2010, and 2011. Growth each year will be compared to the prior full year baseline production credits. Baseline production
credits may be adjusted on an annual basis to reflect reallocations of production credits in accordance with normal policies.
The PC Growth Award will equal the cumulative incremental produciion credits - up to the maximum listed for each FA.

Provided the FA remains continuously employed by the Company or any ofits affiliates, the PC Growth Award will be
granted on January 1, 2012 and be payable in the form of a Long Term Cash Award. This will vest and be payable in 4 equal
annual increments beginning with the first vesting date of January 1, 2013, provided the FA remains employed by the
Company or its affiliates on each vesting date, The amount will be calculated to include interest at an annual rate equal to
the one year Treasury Bill rate set at the fime of the award.

Example using a 3% rate as the 1 year T-bill at time of award:

Maximum growth award of $260,000
2008 PGs 1,000,000
2009 PCs 1,080,000
2010 PCs 1,750,000
2011 P€s 1,250,000

This example assumes no adjustments cf baselines from year to year.

Cumulative growth for the period would be 250,000 (80,000 + 70,000 + 100,000), resulting in the maximum award of
$250,000.

lf the award is $250,000, the annual cash payments would be calculated as follows:

Award is payable in 4 equal installments including interest at an annual 3% rate.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

[Year|/Amountl/Applied Interest|linterest Applied|
ii __||$62,500)x 3% = $1,875.00 ||
j2 |1$62,500 |x 6% |= $3,750.00 |i
13 [$62,500 |x 9% = $5,625.00 ||
[4__|[$62,500]/x 12% |= $7,500.00 __|which totals $18,750

 

 

 

Notional Award + Calculated Interest = Total Cash Award’
$250,000 + $18,750 = $268,750

Paid out in 4 equal installments of $67,187.50
, has APPROVED this agreement on:
Date;
Time:

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ADVISOR TRANSITION PROGRAM AGREEMENT AMENDMENT

AMENDMENT AGREEMENT, dated November 7, 2008, to the advisor transition program agreement, dated as of
October 23, 2006 (the “Transition Agreement’), between MERRILL LYNCH, PIERCE, FENNER & SMITH INCCRPORATED
(‘Marri Lynch’) and

WHEREAS, Meniil Lynch recognizes that itis beneficial to amend the Transition Agreement, and
WHEREAS, desires to amend the Transition Agreement.
NOW, THEREFORE, the parties agree as follows:

+. Section 1(a) of the Transition Agreement is hereby amended with the addition of the following sections as
Sections 1 (a)(iii} and 1{a}{iv}:

"(il) Notwithstanding anything In this Section (a) to the contrary, in the event that is or becomes
eligible to participate in the Merrill Lynch Client Transition Program (the “CTP”) and terminates his/her
employment as a Financial Advisor after the third anniversary of the Closing and elects to participate in the CTP,
shall continue to recelve Service Payments through the month containing the seventh anniversary of the Closing so long as

continues to participate in the CTP. shall cease tc be entitled to and shall not receive any additional
Service Payments upon ceasing to participate in the CTP.

(iv) Notwithstanding anything in this Section 1 {a} to the contrary, in the event that employment is
terminated by Merrill Lynch without Cause (as defined below) or as a result of a Relocation Termination (as defined below),
Merrill Lynch shall provide with a cash jump sum in an amount equal to the Service Payments that would have
been made after the date of termination of his/her employment through the seventh anniversary of the Closing, which
amount shall first be paid by Merrill Lynch to satisfy any outstanding amount owes the Bank of America Group,
pursuant to the loan made to in connection with the consummation of the transactions contemplated by the
Merger Agreernent, and the remainder of which.shail be paid to Such jump sum shall be paid as soon as
practicable after the date of termination without Cause or Relocation Termination, but in no event meré ihan 60
days following the date of termination without Cause or Relocation Termination. For the purposes ofthis
Agreement, “Cause” shall mean the following:

\

(a) a violation of federal securities laws, rules or regulations; (6) a violation of any rules or regulations of any
regulatory or self-regulatory organization; (c} a violation, as reasonably determined by Merrill Lynch management, of Merrill
Lynch's rules, regulations, policies, practices, directions and/or procedures; {d) criminal conduct that could elther result in

statutory disqualification or could reasonably result in harm to Merrill Lynch or Merril Lynch’s reputation, as
reasonably determined by Merrill Lynch management; (e) a suspension, bar, or limitation on aciivities for Merrill
Lynch by any regulatory or self-regulatory organization; (f) a violation of Merrill Lynch's policies against discrimination and
harassment; (g) a failure to maintain license(s} and required registration(s); (h} dishonesty in connection with
employment as a Merrill Lynch Financia! Advisor; or (i) a failure to fultill or to meet any financial obligations that exist
between and Merrill Lynch for a period of four consecutive months. Marrill Lynch’s determination of the existence
of “Cause” will be made in-good faith and will be reasonable under the circumstances. As used herein, the word “harm” does
not include harm that is so speculative or is so minor that it is not reasonably likely to have any perceptible effect on Merrill
Lynch, its employees, customers or reputation. Merrill Lynch agrees to provide with notice, an opporiunity to
respond and a fifteen (15) day period to cure to the extent curable, provided that this opportunity to respond will not preclude
Merrill Lynch from placing his/her on leave pending his/her response. In the event of the Closing, references above to Merrill
Lynch wil include Bank of America.” ,

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has APPROVED this agreement on:
Date:
Time:

ADVISOR TRANSITION PROGRAM AGREEMENT AMENDMENT

2. Section 1(b} of the Transition Agreement is hereby renumbered Section 1(5)(i) and the following sections are
hereby added as Sections 1(b)(i) and 1(b}(ili) to the end of Section 7(b):

“di) Notwithstanding anything in this Section 1(b) to the contrary, in the event that is or becomes eligible
te participate in the CTP and terminates his/her employment as a Financial Advisor after the third anniversary of
the Closing and elects to participate in the CTP, the PC Growlh Award shall continue to vest and be payable on the same
schedule as if continued his/her employment as a Financial Advisor so long as continues to
participate in the CTP. lf ceases to participate in the CTP prior to receiving his/her entire PC Growth Award, any
unpaid portion of the PC Growth Award shall be forfeited.

(ii) Notwithstanding anything in this Section t(b) to the contrary, in the event that employment is
terminated by Merrill Lynch without Cause or as a result of a Relocation Termination, the PC Growth Award shall continue to
vest and be payable on the same schedule as if continued to be employed through the date of the final PC
Growth Award Payment, subject to continued compliance with his/her obligations under the Agreemeni and any
other restrictive covenant agreement with Merrill Lynch.” .

3. Section 2 of the Transition Agreement is hereby deleted and replaced in its entirety by the following:

“2. In consideration of the rights and benefits provided to under this Agreement, hereby
waives his/her right to receive any payments or benefits on account of termination of his/her employment at any future date
for “Good Reason’ under any plan or agreement covering _ including without limitation any payments or benefits

that would otherwise become due in connection with a termination for “Good Reason” under Section 9 of the Financia!
Advisor Capital Accumulation Award Plan (“FACAAP"), Section & of the WealthBuilder Account Pian (WealthBuiider Plan’)
and Section 7 of the Merrill Lynch Growth Award Plan (“Growth Plan”) and the “Change in Gontrei” provisions under any
other Merrili Lynch equity compensation plan cavering as of the date hereof (collectively with the FACAAP, the
Wealthbuilder Plan and the Growth Plan, the “Applicable Plans"); provided, however that shall maintain his/her -
right to receive any payments or benefits on account of termination of his/her employment at any future date for “Good
Reason” pursuant to any of the Applicable Plans if resigns following the relocation of the office of Merrilf Lynch at
which was employed at the time of the Closing Date (the “Closing Date Location”) ta a location more than fifty
miles away from the Closing Date Location, unless is offered the opportunity to continue his/her employment at a
new location that is within fifty miles of the Clasing Date Location (a “Relocation Termination’). Except as set forth in the
proviso above, releases and discharges the Bank of America Group from any claims, whether known or unknown,
may have under the “Good Reason’ clause under any Applicable Pian, including without limitation the FACAAP,
WealthBuilder Plan, Growth Plan and any other Merrill Lynch equity compensation plan in which participates.”

4. Section 3 of the Transition Agreement is hereby amended with the addition of the following sentences to the end
of Section 3: :

"Notwithstanding the foregoing, to the extent that this Section 3 conflicts with the provisions relating to the use of
client Information set forth in the “Protocol for Broker Recruiting” (the “Pretocoi”), the terms of the Projocol shall prevail,
provided that complies with all restrictions and requirements set forth in the Protocol. Furthermore, Merrill Lynch
agrees that while you are receiving payments pursuant to this Agreement, you will continue to have the benefits and
rasponsibilities of the Protocol.”

5. Section 6 of the Transition Agreement is hereby deleted in its entirety and replaced by the following:

“6. and the Bank of America Group each agree to pay and indemnify the other party for all expenses,
including attorneys’ fees and costs, incurred by the other party ifit is successful in enforcing any of its rights under this
Agreement.”

6. Section 12 of the Transition Agreement is hereby deleted in its entirety and replaced by the following:

"42. and the Bank of America Group agree that this Agreement shali be governed by the laws of the
State of New York, without regard to principles of choice of law thereof. and the Bank of America Group also
agree to waive any right to a trial by jury with respect to any action or proceeding arising out of or relating to this Agreement.”

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7. All of the other provistons of the Transition Agreement that are not modified hereunder shall remain in full force
and effect.

In selecting the acceptance icon by following the instructions provided with this Amendment Agreement,
acknowledges that this Amendment Agreement has heen duly executed and delivered by the parties set forth below on the
date first above written. ,

has APPROVED this agreement on:
Date:
Time:

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~Pagelof3

PROMISSORY NOTE (“NOTE”)

FOR VALUE RECEIVED, the undersigned, hereby
unconditionally promises to pay to the order of Merril] Lynch International Finance, inc. or to the
legal holder of this Note at the time of payment (the “Lender’), the principal sum cf in
lawful money cf the United States of America, with interest at the rate of 3.0% .

This Note is subject to the following further terms and conditions:

Section 1. Mandatory Amortization. The sum of $ shall be due and payable
aach month by the undersigned to the Lender or legal holder of this Note pursuant to the attached
joan schedule, which is incorporated herein by reference, For the convenience of the undersigned,
such amount shail be deducted from the undersigned’s compensation from Merrill Lynch, Pierce,
Fenner & Smith Incorporated, a Delaware corporation (“Merrill Lynch’) at the time compensation is
paid during each month from January 2009 through December 2015. For purposes of this Note,
“compensation” shall inclucie, but not be limited to, incentive compensation, transition
compensation and/or bonuses, but does not include safary paid to the undersigned by Merrill
Lynch.

By signing this Note, the undersigned explicifly authorizes Merrill Lynch to deduct
the above amount fromm compensation on a monihly basis, as long as the loan remains unpaid. The
undersigned acknowledges that Merrill Lynch will make these deductions solely to facilitate the
payment of interest and principal on this Note and that these deductions are a benefit to the
undersigned. Should the combined net after-tax amount of the undersigned’s compensation for any
month be an amountiess thang , then the Lender may recover, without limitation, any
deficiency from any account held af Merrill Lynch by the undersigned alone or jointly with another
(including, but not limited to, the undersigned’s Cash Management Account), and/or from any
cornpensation, credits, or property of the undersigned that is/are in the possession or control of
Merrill Lynch for any reason (except that in no event shall any amounts be deducted from the
undersigned’s salary). Additionally, the undersigned understands and agrees that any deficiency
outstanding at the end of any month shall be due and payable and be deducted from any
subsequent compensation and as set forth elsewhere in this Note, Lender is not limited to
recovering amounts owed from such compensation, but rather all amounts owed are full recourse
ebligations of the undersigned.

Section 2. Mandatory Prepayment on Femmination of Empleyment/

Faiiure to Pay or Insolvency. Notwithstanding anything to the contrary contained
herein, all outstanding principal and accrued but unpaid interest on this Note shail become cue and
immediately payable if (a) the undersigned’s employment with Merril Lynch is terminated for any
reason; {b) the undersigned fails to make any payment of principal and interest on or before the
due date; or (c) the undersigned becomes insolvent or files for bankruptcy,

Section 3. Prepayment at Option of the Undersigned. The undersigned may, at
his/her option and upon no less than ten business cays notice to the Lender, or to the legal hokler
of this Note, prepay this Note in whole or in part at any time or from time to time without penalty or
premium in Jawful money of the United States. Any partial prepayment shall be applied first fo
accrued and unpaid interest hereon and then to the unpaid principal hereof. :

has APPROVED this agreement on:
Date: :
Time:

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PRONISSORY NOTE (“NOTE”)

Section 4, Payment, All payments and prepayments of principal of and interest on
this Note shall be made to the Lender or its order in lawful money of the United States of America.
In the event the undersigned fails to timely make any payments due and owing under the Note, the
accrued and unpaid interest hereunder shali thereafter bear the same rate of interest as the

principal hereunder, but in no event shail interest be charged that would violate any applicable
usury law. The undersigned hereby expressly waives presentment and demand for payment,
protest, notice of dishonor and all other demands and notices of any kind at such time as any
payments are due under this Note. The undersigned agrees to pay ail costs of collection, including
reasonable attomeys’ fees incurred by the holder in the enforcement cf this Note.

Section 5. Nature of Obligations. This Note is a full recourse note against the
undersigned, The undersigned shall be personally liable for full payment of the unpaid principal
balance of this Note and acerued interest hereunder. No provision of this Note shall alter or impair
the obligation of the undersigned, which obligation is absolute and unconditional, to pay the
outstanding principal balance and accrued interest owing under this Note at the time, and in the
manner set forth herein.

Section 6. Offsefs. To the extent permitted by law, the Lender shall be entitled to
apply as an offset against the undersigned’s repayment obligations hereunder, if such obligations
are not satisfied in full when due, any other amounts owed by the Lender or any of its affiliates to
the undersigned.

Section 7. Miscellaneous.

fa) Tha provisions of this Ncte shall be governed by and construed in accordance
with the laws of the State of New York, without reference to the principles of choice of law thereci.
The undersigned agrees that any actions regarding the Note, including actions te recover amounts
due under this Note, shall be brought solely in the Supreme Court of the State of New York in New
York County . The undersigned (a) submits to personat jurisdiction in the Supreme Court of the
State of New York in any action or proceeding arising out of this Note, (b) waives any claim of
inconvenient forum or other challenge to venue in such court, (c} agrees not to bring any action or
proceeding arising out of our relating to this Note in any other court, and (d} waives any right to a
trial by jury with respect to any action or preceeding arising out of or relating to the Noie,

(b} No previous waiver and no failure or delay by the Lender or the undersigned in
acting with respect to the terms of this Note shall constitute a waiver of any breach, default or
failure of condition under this Note or the obligations secured thereby. A waiver or modification of
any term of this Note or of any of the obligations secured thereby must be made in writing and
signed by a duly authorized officer of the Lender and shall be limited to the express ferms of such
waiver or modification. Undersigned may net rely on any oral waivers or modifications and no such
oral waiver or modification shall be binding on Lender or otherwise effective.

(c} All notices and other communications hereunder shall be in writing and will be
deemed to have been duly given if detivered or mailed.

has APPROVED this agreement on:
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PROWNISSORY NOTE (“NOTE”)

(d} The headings contained in this Note are for reference purposes only and shail
net affect in any way the meaning or interpretation of the provisions hereof.

(e) The Lender may assign any or all of its rights, obligations and interests ;
hereunder to any party without the consent of the undersigned. The undersigned shall not have ihe
right to assign any of his/her rights, obligations cr interests hereunder.

(f) This Note contains the complete understanding between the undersigned and
the Lender relating to the matters contained herein and supersedes all prior oral, written and ail
contemporanecus oral negotiations, commitments and understandings between and among the
Lender and the undersigned. The undersigned did not rely on any statements, promises or
representations made by the Lender or any other party in entering into this Note.

has APPROVED this agreement on:
' Date:
Time:

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Advisor Transition Program Award Amortization Schedule

 

 

Initial Promissory Note Amount: Interest Rate: 3.0% Term: 84 Months
Payment Number Balance Before Payment Due Date Payment Amount Interest Payment Principal Payment
1 Jan, 2009
2 Feb, 2009
3 Mar, 2009
4 Apr, 200
5 May, 2009
6 Jun, 2609
7 Jul, 2009
& Aug, 2009
9 Sep, 2009
10 ; Oct, 2009
11 Nav, 2009
{2 Dec, 2009
13 Jan, 2010
14 . . Feb, 261¢
15 Mar, 2010
16 Apr, 2070
17 May, 2010
18 Jun, 2010
19 ‘ Jul, 2010
20 : Aug, 2019
21 Sep, 2010
22 Oct, 2010
23 Nov, 2010
24 Dec, 2010
25 Jan, 2011
26 Feb, 2074
27 Mar, 2011
28 ’ Apr, 2011
29 May, 2011
36 vun, 2011
4M Jul, 2011 —
32 Aug, 2011
33 Sep, 2011
34 Oct, 2011
35 Nov, 2011
36 Dec, 2011
af Jan, 2012
38 Feb, 2012
39 Mar, 2012
40 Apr, 2012
44 May, 2012
42 Jun, 2012
43 Jul, 2012
44 Aug, 2012
45 Sep, 20172
46 Oct, 2012
47 Nov, 2012
48 - Dec, 2012
49 Jan, 2013
50 Feb, 2013
51 Mar, 2013
52 oe Apr, 2013
53 May, 2013
54 Jun, 2013
55 Jul, 2013
56 Aug, 2013

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Sep, 2013
Oct, 2013
Nov, 2013
Dec, 2043
Jan, 2014
Feb, 2014
Mar, 2014
Apr, 20714
May, 2014
dun, 2014
Jui, 2014

Aug, 2014
Sep, 2014
Oct, 2014
Nov, 2044
Dec, 2014
dan, 2015
Feb, 2015
Mar, 2015
Aor, 2015
May, 2015
dun, 2015
Jul, 2615

Aug, 2015
Sep, 2015
Oct, 2015
Nov, 20715
Dec, 2075

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